   Case 1:23-cv-11195-SHS-OTW               Document 238         Filed 09/06/24      Page 1 of 4




Susman Godfrey l.l.p.

September 6, 2024
Hon. Ona T. Wang
Southern District of New York
500 Pearl Street
New York, New York 10007

               Re:     The New York Times Company v. Microsoft Corporation, et al.,
                       Case No.: 23-cv-11195-SHS: Opposition to OpenAI’s Motion to Compel
Dear Magistrate Judge Wang:
        Plaintiff The New York Times Company (“The Times”) opposes OpenAI’s September 3
request to compel the production of documents. Dkt. 236. As an initial matter, OpenAI misstates
what The Times agreed to produce: The Times has already agreed to produce the materials related
to its use of, and positions about, generative AI that are relevant to this case. OpenAI’s motion
seeks broad discovery into documents about its competitors’ products, “copyright,” and “AI”
generally that are simply irrelevant to the issues before this Court.
   1. The Times Already Agreed to Produce a Substantial Number of Documents about
      Generative AI.
       The Times did not “refuse to produce any discovery relating to any tools other than those
created by OpenAI,” as OpenAI claims. Dkt. 236 at 2. Notwithstanding concerns about
overbreadth and lack of relevance, in order to avoid disputes, The Times agreed to produce
documents regarding The Times’s A.I. Initiatives program (OAI RFP 47), documents regarding
The Times’s use of both OpenAI and Microsoft’s generative AI tools in reporting or presentation
of content (OAI RFPs 49, 83), documents sufficient to show any Times trainings about generative
AI (OAI RFP 46), and documents regarding Times policies about OpenAI and Microsoft’s
generative AI tools (OAI RFP 44, MS RFPs 29-30). See Ex. D; Ex. 1 (summary exhibit of relevant
discovery responses); Ex. 5.
   2. The Times’s Use of Third Parties’ Products is Not Relevant to Any Fair Use Defense.
        OpenAI argues that it needs discovery into The Times’s use of “generative AI generally”—
as in, generative AI tools not created by OpenAI or Microsoft—to show the “public benefit” of its
copying of Times content. But this argument misunderstands how the “public benefit” analysis
works. It is not a stand-alone question, but instead is part of the fourth fair use factor: “the effect
of the use upon the potential market for or value of the copyrighted work.” 17 U.S.C. § 107(4)
(emphasis added). Specifically, the court may assess “the public benefits the copying will likely
produce.” Google LLC v. Oracle Am., Inc., 593 U.S. 1, 35 (2021) (emphasis added). Here, “the
use” and “the copying” at issue is OpenAI and Microsoft’s unauthorized use and copying of The
Times’s asserted works, and “the potential market” is the market for the same Times works.
       Put differently, it is Microsoft and OpenAI’s burden to prove that, by using Times works
without permission, they have provided a benefit to the public. See Hachette Book Group, Inc. v.
Internet Archive, -- F.4th --, 2024 WL 4031751, at *14 (2d Cir. Sep. 4, 2024) (holding that the
    Case 1:23-cv-11195-SHS-OTW                     Document 238            Filed 09/06/24         Page 2 of 4



September 6, 2024
Page 2



defendant bears the burden of proving the “effect on the market” fair use factor). The use or non-
use of third-party generative AI tools by The Times is wholly irrelevant to that inquiry. To the
extent a look at broader industry conduct is relevant, it is as part of an analysis about the impact
Defendants’ copying has on publishers’ businesses and whether it decreases their incentive to
create works in the first place. See Sega Ent. Ltd. v. Accolade, Inc., 977 F.2d 1510, 1523 (9th Cir.
1992) (internal citations omitted) (stating that a fair use analysis may consider whether, if “the
challenged use should become widespread, it would adversely affect the potential market for the
copyrighted work,’ by diminishing potential sales, interfering with marketability, or usurping the
market”).
        There is a very good reason why courts do not analyze whether copying by non-parties
provides a “public benefit.” If allowed, it would turn a case against particular defendants into a
series of mini-trials about the conduct of other companies and the nature of their AI products.
OpenAI’s argument, at its core, is that this discovery will help it prove that its copying has a “public
benefit” because other companies’ products provided a benefit to The Times (presumably beyond
any money The Times has to pay to use them). This would require OpenAI to prove (among other
things) that those third-party tools also infringed the same Times works, the character of their
unauthorized use was the same as OpenAI’s, and they commercialized their products in the same
way. And even if OpenAI’s trials-within-a-trial were successful, The Times’s use of any such
third-party tools would still not be relevant to evaluating the effects of OpenAI’s infringing tools
on the market for Times works or on the public interest. The Times does not act as a consumer in
the market for its own copyrighted works.
    3. The Times’s Own Tools are Irrelevant.
       Discovery into The Times’s creation of AI tools is also irrelevant. Even so, The Times
already agreed to produce documents and communications relating to its A.I. Initiatives program—
the same program OpenAI cites as a basis for seeking discovery on this topic. See Dkt. 236 at 3
n.5.
        Yet that is not enough for OpenAI. RFP 51 seeks documents about the training of a
generative AI tool that The Times introduced for its advertising business, a use that is clearly not
at issue in this case. And the other discovery OpenAI demands is not about generative AI at all.
RFP 50 seeks documents about an AI tool that was designed to examine satellite images to trace
the path of the “Chinese spy balloon” spotted in 2023 for reporting purposes.1 The AI satellite tool
uses AI, not generative AI, which even OpenAI does not claim to have “pioneered and introduced
to the world.” Dkt. 236 at 2.
        These requests do not have anything to do with whether OpenAI’s unauthorized use of
The Times’s copyrighted content to train a generative chatbot that competes with The Times’s
journalism constitutes “fair use,” nor do they have anything to do with The Times’s damages

1
  See Eduardo Suarez, New York Times publisher A.G. Sulzberger: “Our industry needs to think bigger”, Reuters
Institute (Feb. 19, 2024), https://reutersinstitute.politics.ox.ac.uk/news/new-york-times-publisher-g-sulzberger-our-
industry-needs-think-bigger.
    Case 1:23-cv-11195-SHS-OTW                   Document 238          Filed 09/06/24         Page 3 of 4



September 6, 2024
Page 3



(which OpenAI mentions but does not explain). And neither are actually directed at the information
OpenAI claims to need. See Dkt. 236-3 (OpenAI arguing it is entitled to know whether The Times
“has leveraged unlicensed data to create these tools,” “admitted internally that there is no
‘workable market’ for licensing the data needed to create an effective language model,” or
“acknowledged that this technology could enhance the ‘traditional business models that supported
quality journalism’”). OpenAI does not explain how discovery into either tool could plausibly
uncover relevant admissions about the feasibility of licensing its own works to build an LLM or
the benefits of OpenAI’s infringing use of Times works to journalism, or why any such information
would not be discoverable in the numerous documents The Times agreed to produce.
    4. OpenAI’s Remaining Requests Are Overbroad.
        Here again, The Times has already agreed to produce non-privileged communications with
third parties about the relevant issues in this case: Defendants’ use of Times content in their
generative AI products, this litigation, and whether to license works to OpenAI. The Times also
agreed to produce documents regarding The Times’s attempts to license its works to OpenAI and
Microsoft, Defendants’ use of Times works to train, and OpenAI competing with Times works
and creating substitutive products (OAI RFPs 1, 3, 16-17, 25, 40, 58, 87-89, 90, 92; MS RFPs 33,
50).2 See Exs. 1-3, 5; Ex. D. OpenAI’s demand for all communications regarding “copyright” and
“AI” is overbroad and unsupported by any caselaw.3
        As for RFPs 4-6 and 16, OpenAI claims that discovery into whether The Times knew third-
party generative AI companies infringed its works and did nothing is relevant to show The Times
recognizes that “such training is protected by fair use.” Dkt. 236-3. Although this relevance hook
is attenuated at best, The Times already agreed to produce documents concerning The Times’s
efforts to monitor for, investigate, or enforce infringement of its intellectual property rights (MS
RFP 27, OAI RFP 65). Exs. 1-2, 5. The information OpenAI seeks is covered by these requests,
and further discovery into The Times’s knowledge of any other “alleged” use of Times works by
third parties is unnecessary and overbroad. See Ex. D (RFPs 4-6, 16).

                                                             Respectfully submitted,

                                                             /s/ Ian B. Crosby
                                                             Ian B. Crosby
                                                             Susman Godfrey L.L.P.

                                                             /s/ Steven Lieberman
                                                             Steven Lieberman
                                                             Rothwell, Figg, Ernst & Manbeck

2
  See Ex. 3 (The Times’s July 25, 2024 discovery correspondence with counsel for Microsoft agreeing to produce
documents responsive to Microsoft RFPs 33 and 50).
3
  During meet and confer efforts on OpenAI’s RFP 24, The Times offered to produce communications with those
third parties relating to copyright infringement by OpenAI. Ex. 4. OpenAI declined.
   Case 1:23-cv-11195-SHS-OTW            Document 238   Filed 09/06/24   Page 4 of 4



September 6, 2024
Page 4




 cc:   All Counsel of Record (via ECF)
